                                                                                    May 29 2025
                            *!( R'( ('R '($(R"*$(R
                            '(&!R'(%(R"R+'"!'!R


*!( R'()'R"R  % R

                      #?.;CK<6R                              .J2R!ERRR 0H

                      
                                                              , R*' RQQR.?RR
                                                              R.AR-R
  R R       !R

                       253D1.DK R


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            

       29<DC<C9RECREGR./ELKR'2FK2B/2GR R R.C1R0ECK<CM<C9RMCK;@RECREHR./ELKR202B/2HR          R

 R<CRK:2R'K.K2R.C1R.JK2IR;JKH<0KRE4R+;J0ECJ;CR

                                        

CEKR/2<D9R.R@;02CJ21R12.?2HRE4R5=H2.GBJRO<K:;DRK:2RB2.D<C9RE4R:.FK2HRR(<K?2R R*D<K21R'K.K2JR

E12RO;@@8?@PR2D9.921R<CRK:2R/LJ<C2JJRE4R12.@;C9R<CR7H2.GBJ R

       DRN<E?.K<ECRE4R(;K?2R R*D>K21R'K.K2JRE12R'20K<ECJRR.?RR.C1RR.AR R




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